  Case Case
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                                                                     1 of 1 #: 33
                           UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION
______________________________________
                                              :
Brandy Samuel,                                :
                                              : Civil Action No.: 6:10-cv-0059
                                              :
                      Plaintiff,              :
      v.                                      :
                                              :
ER Solutions, Inc.; and DOES 1-10, inclusive, :
                                              :
                      Defendant.              :
______________________________________ :
                                              :
                                      PROPOSED ORDER

       The Court, upon the Stipulation of the parties to this action, and upon finding that there is

no just reason for delay in the entry of this judgment, hereby Orders this matter dismissed with

prejudice and without costs to either party.


        So ORDERED and SIGNED this 25th day of October, 2010.




                               __________________________________
                               LEONARD DAVIS
                               UNITED STATES DISTRICT JUDGE
